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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

    In the Matter of the
    Federal Bureau of Prisons’ Execution
    Protocol Cases
                                                              Case No. 19-mc-0145 (TSC)
    LEAD CASE: Roane, et al. v. Barr
    THIS DOCUMENT RELATES TO:
    All Cases


                           DEFENDANTS’ RESPONSE TO
       T H E N O T I C E B Y C O U N S E L F O R PL A I N T I F F C O R Y J O H N S O N

          Defendants respectfully submit this response to the letter notice that counsel for Plaintiff

Cory Johnson filed earlier today, January 6, 2021. The notice misconstrues Johnson’s medical

records and contains statements that give the incorrect impression that Defendants did not

promptly respond to Johnson’s counsel’s request for medical records prior to the hearing held on

January 4 and 5, 2021.

          1.     Though counsel’s notice purports to provide “updated materials” showing that

Johnson “continues to suffer symptoms from his undisputed COVID-19 infection,” ECF No. 386

at 2, it refers mostly to older medical records describing conditions that are not reflected in the

more recent records attached to the notice.

          First, Johnson mentions a headache documented in a medical record dated December 18,

2020. Id. But Johnson’s more recent screenings dated January 1, January 2, January 3, and January

5, note that Johnson was negative for headache. ECF No. 386-2 at 5–8.

          Second, Johnson refers to “lowered oxygen saturation levels,” citing the declaration of Gail

Van Norman filed with his amended complaint on December 28, 2020. 1 ECF No. 386 at 2.



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  Defendants dispute that Johnson’s oxygen saturation levels have at any point been “lowered”; in
fact, they have remained within the normal range. See ECF No. 380-2 ¶¶ 6–7.
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Johnson’s updated medical records, however, show that his oxygen saturation was most recently

recorded at 98% on January 2, 2021, which is normal. ECF No. 386-2 at 2, ECF No. 380-2 ¶¶ 6–

7.

       Third, Johnson refers to “unspecified breathing issues” supposedly documented in a record

dated December 26, 2020. ECF No. 386 at 2. In fact the record states, “Reports breathing has

improved,” ECF No. 380-4 at 135, presumably referring to Johnson’s report the day before that he

had nasal congestion, id. at 136.

       Finally, Johnson states that he has suffered a “persistent and worsening cough,” citing a

medical record dated December 21, 2020, and the declaration of William Breeden signed on

January 3, 2021. Id. Johnson’s notice also includes an additional declaration from Breeden,

describing Johnson’s cough on January 5 as “more pronounced and more consistent.” ECF No.

386-1 at 3. But the updated medical records submitted with Johnson’s notice describe Johnson’s

cough as “improving” as of January 3, 2021. ECF No. 386-2 at 6. 2

       2.      Johnson’s counsel state that they “requested Mr. Johnson’s full updated medical

records prior to the hearing,” but “did not receive them from Defendants until afterwards.” ECF

No. 386. Counsel’s wording creates the misimpression that Defendants delayed providing

requested information to Johnson’s counsel, when there was, in fact, no delay.

       On January 2, 2020, undersigned counsel provided Johnson’s counsel with medical records

through January 2. At 9:58 p.m. on January 4, the evening before the second day of the hearing,

counsel for Johnson requested updated medical records current to that date. At 11:17 p.m., after




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  Johnson himself has previously stated that he developed a “little cough” sometime after he was
told that he had COVID-19, and that his cough “got a little worse on January 2, 2021 than it was
before.” ECF No. 383-4 at 4. Johnson also said that, apparently as of January 3, 2021, he had
“more of a cough . . . and cough[ed] more often than I did a few days ago.” Id. at 4–5.
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conferring with the Federal Bureau of Prisons, undersigned counsel informed counsel for Johnson

that the records would be pulled first thing the next morning. At 8:30 a.m. on January 5,

undersigned counsel provided the updated medical records to Johnson’s counsel by email. About

fifteen minutes later, Johnson’s counsel informed undersigned counsel that he believed pulse

oximetry readings were missing from the records for January 2 and January 4. After looking into

the matter, the Federal Bureau of Prisons confirmed that a reading was missing from the January

2 record, but not the January 4 record. Undersigned counsel provided updated records to Johnson’s

counsel yesterday at 5:38 p.m., which included the 98% oxygen saturation reading for January 2

mentioned above. This sequence of events reflects no delay in providing Johnson’s counsel with

medical records.

 Respectfully submitted,

 JEFFREY BOSSERT CLARK                             MICHAEL R. SHERWIN
 Acting Assistant Attorney General                 Acting United States Attorney

 JEAN LIN                                          BRIAN P. HUDAK
 Special Litigation Counsel                        Acting Chief, Civil Division

 JONATHAN KOSSAK, D.C. Bar #991478                 By: /s/ Johnny Walker
 CRISTEN C. HANDLEY, MO Bar #69114                 JOHNNY H. WALKER, D.C. Bar #991325
 BRADLEY P. HUMPHREYS,                             Assistant United States Attorney
   D.C. Bar #988057                                555 4th Street, N.W.
 Trial Attorneys                                   Washington, District of Columbia 20530
 Federal Programs Branch                           Telephone: 202 252 2575
 Civil Division, Department of Justice             Email: johnny.walker@usdoj.gov
 1100 L Street, N.W.                               Counsel for Defendants
 Washington, District of Columbia 20005
 (202) 514-3716
 jean.lin@usdoj.gov
 jonathan.kossak@usdoj.gov
 christen.handley@usdoj.gov
 bradley.humphreys@usdoj.gov

 Dated: January 6, 2021




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                           CERTIFICATE OF SERVICE

       I hereby certify that on January 6, 2021, I caused a true and correct copy of

foregoing to be served on all following counsel of record via the Court’s CM/ECF system.
 Joshua C. Toll                                Ginger D. Anders
 King & Spalding LLP                           Jonathan S. Meltzer
 (202) 737-8616                                Brendan Gants
 jtoll@kslaw.com                               Munger, Tolles & Olson LLP
                                               (202) 220-1100
 Margaret O’Donnell
                                               ginger.anders@mto.com
 (502) 320-1837
 mod@dcr.net                                   Counsel for Plaintiff Brandon Bernard
 Counsel for Plaintiff Anthony Battle


 Alex Kursman                                  Scott W. Braden
 Shawn Nolan                                   Arkansas Federal Defender Office
 Federal Community Defender Office,            (501) 324-6114
 E.D. Pa.                                      Scott_Braden@fd.org
 (215) 928-0520                                Jennifer Ying
 alex_kursman@fd.org                           Andrew Moshos
 shawn_nolan@fd.org                            Morris, Nichols, Arsht & Tunnell LLP
 Counsel for Plaintiff Alfred Bourgeois        (302) 658-9300
                                               jying@mnat.com
                                               amoshos@mnat.com
                                               Counsel for Plaintiff Norris G. Holder, Jr.


 Joseph Luby                                   Amy Lentz
 Federal Community Defender Office,            Steptoe & Johnson, LLP
 E.D. Pa.                                      (202) 429.1320
 (215) 928-0520                                alentz@stepoe.com
 joseph_luby@fd.org
                                               Counsel for Plaintiff Orlando Hall
 Counsel for Plaintiff Chadrick Fulks




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Shawn Nolan                                   Gregory S. Smith
Federal Community Defender Office,            (202) 460-3381
E.D. Pa.                                      gregsmithlaw@verizon.net
(215) 928-0520
shawn_nolan@fd.org                            Counsel for Plaintiff William LeCroy
Counsel for Plaintiff Dustin Higgs


Jon Jeffress                                  Donald P. Salzman
KaiserDillon PLLC                             Charles F. Walker
(202) 640-2850                                Steven M. Albertson
jjeffress@kaiserdillon.com                    Skadden, Arps, Slate, Meagher & Flom
                                              LLP
Timothy Kane
                                              (202) 371-7983
Shawn Nolan
                                              donald.salzman@skadden.com
Federal Community Defender Office,
E.D. Pa.                                      Counsel for Plaintiff Corey Johnson
(215) 928-0520
timothy_kane@fd.org
shawn_nolan@fd.org
Counsel for Plaintiff Dustin Lee Honken


David S. Victorson                            Shawn Nolan
Hogan Lovells US LLP                          Federal Community Defender Office,
(202) 637-5600                                E.D. Pa.
david.victorson@hoganlovells.com              (215) 928-0528
                                              shawn_nolan@fd.org
Pieter Van Tol
Hogan Lovells US LLP                          Gary E. Proctor
(212) 918-3000                                Law Offices of Gary E. Proctor, LLC
pieter.vantol@hoganlovells.com                (410) 444-1500
                                              garyeproctor@gmail.com
Counsel for Plaintiff Daniel Lewis Lee
                                              Counsel for Plaintiff Jeffrey Paul




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Gerald W. King, Jr.                             Alan E. Schoenfeld
Jeffrey Lyn Ertel                               Ryan M. Chabot
Federal Defender Program, Inc.                  Wilmer Cutler Pickering Hale and Dorr
(404) 688-7530                                  LLP
Gerald_King@fd.org                              (212) 230-8880
Jeff_Ertel@fd.org                               Alan.Schoenfeld@WilmerHale.com
                                                Ryan.Chabot@WilmerHale.com
Brandon D. Almond
Troutman Sanders LLP                            Andres C. Salinas
Washington, D.C. 20004                          Wilmer Cutler Pickering Hale and Dorr
(202) 274-2864                                  LLP
brandon.almond@troutmansanders.com              (202) 663-6289
Counsel for Richard Tipton, III                 Andres.Salinas@WilmerHale.com
                                                Counsel for Wesley I. Purkey


Dale A. Baich                                   Amy Karlin
Jennifer M. Moreno                              Interim Federal Public Defender
Federal Public Defender                         Celeste Bacchi
District of Arizona                             Jonathan C. Aminoff
(602) 382-2816                                  Deputy Federal Public Defenders
dale_baich@fd.org                               (213) 894-2854
jennifer_moreno@fd.org                          celeste_bacchi@fd.org
Counsel for Plaintiff Keith Nelson              Counsel for Plaintiff Julius O. Robinson


Paul F. Enzinna                                 Evan Miller
Ellerman Enzinna PLLC                           Vinson & Elkins LLP
(202)753-5553                                   (202) 639-6605
penzinna@ellermanenzinna.com                    emiller@velaw.com
Counsel for Plaintiff James H. Roane, Jr.       Counsel for Bruce Webster




                                                 /s/Johnny Walker
                                                Assistant United States Attorney
                                                Counsel for Defendants




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